                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                        CIVIL ACTION NO. 1:16-cv-00955

RICHARD E. SWIGER, individually, and            )
on behalf of all other similarly situated,      )
                                                )
              Plaintiff,                        )
                                                ) JOINT MOTION TO DISMISS
       v.                                       )
                                                )
BREG, INC., VISCENT, LLC, and                   )
ORTHORX, INC.                                   )
                                                )
              Defendants.




       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiff

Richard Swiger (“Plaintiff”) and Defendants Breg, Inc., Viscent, LLC, and OrthoRx, Inc.

(“Defendants”) jointly ask this Court to dismiss all claims Plaintiff asserted as an

individual with prejudice, and the claims of the remaining non-party class members

without prejudice. In support of this Motion, the parties respectfully state the following:

       1.     Plaintiff filed this purported collective action on behalf of Orthotists and

Orthotic Fitters employed by Defendants.

       2.     Plaintiff complained about, among other things, Defendants’ incorrect

classification of Orthotists and Orthotic Fitters, and asserted claims under the Fair Labor

Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and the North Carolina Wage and Hour

Act (“NCWHA”).




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       3.       Plaintiff Swiger has reached settlement of his individual claims with

Defendants and consequently, he requests to dismiss those claims with prejudice.

Plaintiff requests to dismiss the claims of the non-party class members without prejudice.

       4.       While Rule 23(e) of the Federal Rules of Civil Procedure does not require

court approval of the dismissal of class claims before the class has been certified, the

Fourth Circuit has held that, under Rule 23(d), district courts have pre-certification duty

to ensure that the dismissal of class claims neither is the result of collusion, nor

prejudices the non-party class members. Shelton v. Pargo, Inc., 582 F.2d 1298, 1306,

1314 (4th Cir. 1978).

       5.       In this case, it is clear that the dismissal is not the result of collusion.

       6.       Similarly, it is clear that the dismissal will not prejudice the non-party class

members. First, the dismissal is without prejudice. Second, the running of the statute of

limitations on the class claims has been tolled since the parties agreed to mediation on

September 13, 2016 and will be tolled through the date the Court grants this Motion to

Dismiss. Finally, given that this case has not been publicized, the parties have no reason

to believe that any non-party class members are relying upon Plaintiff’s prosecution of

these claims.

       Therefore, based on the foregoing, the parties respectfully ask this Court to

dismiss this action.




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Dated: April 28, 2017                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

      This is to certify that on this day I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF System, which will send notification of such filing to the

following:

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This 28th day of April 2017.

                                                 /s/ Brian K. Nagatani
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